Case 3:15-cv-03453-D Document 85-1 Filed 07/13/16   Page 1 of 50 PageID 2291




                                                               APPENDIX - 1
Case 3:15-cv-03453-D Document 85-1 Filed 07/13/16   Page 2 of 50 PageID 2292




                                                               APPENDIX - 2
Case 3:15-cv-03453-D Document 85-1 Filed 07/13/16   Page 3 of 50 PageID 2293




                                                               APPENDIX - 3
Case 3:15-cv-03453-D Document 85-1 Filed 07/13/16   Page 4 of 50 PageID 2294




                                                               APPENDIX - 4
Case 3:15-cv-03453-D Document 85-1 Filed 07/13/16   Page 5 of 50 PageID 2295




                                                               APPENDIX - 5
Case 3:15-cv-03453-D Document 85-1 Filed 07/13/16   Page 6 of 50 PageID 2296




                                                               APPENDIX - 6
Case 3:15-cv-03453-D Document 85-1 Filed 07/13/16   Page 7 of 50 PageID 2297




                                                               APPENDIX - 7
Case 3:15-cv-03453-D Document 85-1 Filed 07/13/16   Page 8 of 50 PageID 2298




                                                               APPENDIX - 8
Case 3:15-cv-03453-D Document 85-1 Filed 07/13/16   Page 9 of 50 PageID 2299




                                                               APPENDIX - 9
Case 3:15-cv-03453-D Document 85-1 Filed 07/13/16   Page 10 of 50 PageID 2300




                                                               APPENDIX - 10
Case 3:15-cv-03453-D Document 85-1 Filed 07/13/16   Page 11 of 50 PageID 2301




                                                               APPENDIX - 11
Case 3:15-cv-03453-D Document 85-1 Filed 07/13/16   Page 12 of 50 PageID 2302




                                                               APPENDIX - 12
Case 3:15-cv-03453-D Document 85-1 Filed 07/13/16   Page 13 of 50 PageID 2303




                                                               APPENDIX - 13
Case 3:15-cv-03453-D Document 85-1 Filed 07/13/16   Page 14 of 50 PageID 2304




                                                               APPENDIX - 14
Case 3:15-cv-03453-D Document 85-1 Filed 07/13/16   Page 15 of 50 PageID 2305




                                                               APPENDIX - 15
Case 3:15-cv-03453-D Document 85-1 Filed 07/13/16   Page 16 of 50 PageID 2306




                                                               APPENDIX - 16
Case 3:15-cv-03453-D Document 85-1 Filed 07/13/16   Page 17 of 50 PageID 2307




                                                               APPENDIX - 17
Case 3:15-cv-03453-D Document 85-1 Filed 07/13/16   Page 18 of 50 PageID 2308




                                                               APPENDIX - 18
Case 3:15-cv-03453-D Document 85-1 Filed 07/13/16   Page 19 of 50 PageID 2309




                                                               APPENDIX - 19
Case 3:15-cv-03453-D Document 85-1 Filed 07/13/16   Page 20 of 50 PageID 2310




                                                               APPENDIX - 20
Case 3:15-cv-03453-D Document 85-1 Filed 07/13/16   Page 21 of 50 PageID 2311




                                                               APPENDIX - 21
Case 3:15-cv-03453-D Document 85-1 Filed 07/13/16   Page 22 of 50 PageID 2312




                                                               APPENDIX - 22
Case 3:15-cv-03453-D Document 85-1 Filed 07/13/16   Page 23 of 50 PageID 2313




                                                               APPENDIX - 23
Case 3:15-cv-03453-D Document 85-1 Filed 07/13/16   Page 24 of 50 PageID 2314




                                                               APPENDIX - 24
Case 3:15-cv-03453-D Document 85-1 Filed 07/13/16   Page 25 of 50 PageID 2315




                                                               APPENDIX - 25
Case 3:15-cv-03453-D Document 85-1 Filed 07/13/16   Page 26 of 50 PageID 2316




                                                               APPENDIX - 26
Case 3:15-cv-03453-D Document 85-1 Filed 07/13/16   Page 27 of 50 PageID 2317




                                                               APPENDIX - 27
Case 3:15-cv-03453-D Document 85-1 Filed 07/13/16   Page 28 of 50 PageID 2318




                                                               APPENDIX - 28
Case 3:15-cv-03453-D Document 85-1 Filed 07/13/16   Page 29 of 50 PageID 2319




                                                               APPENDIX - 29
Case 3:15-cv-03453-D Document 85-1 Filed 07/13/16   Page 30 of 50 PageID 2320




                                                               APPENDIX - 30
Case 3:15-cv-03453-D Document 85-1 Filed 07/13/16   Page 31 of 50 PageID 2321




                                                               APPENDIX - 31
Case 3:15-cv-03453-D Document 85-1 Filed 07/13/16   Page 32 of 50 PageID 2322




                                                               APPENDIX - 32
Case 3:15-cv-03453-D Document 85-1 Filed 07/13/16   Page 33 of 50 PageID 2323




                                                               APPENDIX - 33
Case 3:15-cv-03453-D Document 85-1 Filed 07/13/16   Page 34 of 50 PageID 2324




                                                               APPENDIX - 34
Case 3:15-cv-03453-D Document 85-1 Filed 07/13/16   Page 35 of 50 PageID 2325




                                                               APPENDIX - 35
Case 3:15-cv-03453-D Document 85-1 Filed 07/13/16   Page 36 of 50 PageID 2326




                                                               APPENDIX - 36
Case 3:15-cv-03453-D Document 85-1 Filed 07/13/16   Page 37 of 50 PageID 2327




                                                               APPENDIX - 37
Case 3:15-cv-03453-D Document 85-1 Filed 07/13/16   Page 38 of 50 PageID 2328




                                                               APPENDIX - 38
Case 3:15-cv-03453-D Document 85-1 Filed 07/13/16   Page 39 of 50 PageID 2329




                                                               APPENDIX - 39
Case 3:15-cv-03453-D Document 85-1 Filed 07/13/16   Page 40 of 50 PageID 2330




                                                               APPENDIX - 40
Case 3:15-cv-03453-D Document 85-1 Filed 07/13/16   Page 41 of 50 PageID 2331




                                                               APPENDIX - 41
Case 3:15-cv-03453-D Document 85-1 Filed 07/13/16   Page 42 of 50 PageID 2332




                                                               APPENDIX - 42
Case 3:15-cv-03453-D Document 85-1 Filed 07/13/16   Page 43 of 50 PageID 2333




                                                               APPENDIX - 43
Case 3:15-cv-03453-D Document 85-1 Filed 07/13/16   Page 44 of 50 PageID 2334




                                                               APPENDIX - 44
Case 3:15-cv-03453-D Document 85-1 Filed 07/13/16   Page 45 of 50 PageID 2335




                                                               APPENDIX - 45
Case 3:15-cv-03453-D Document 85-1 Filed 07/13/16   Page 46 of 50 PageID 2336




                                                               APPENDIX - 46
Case 3:15-cv-03453-D Document 85-1 Filed 07/13/16   Page 47 of 50 PageID 2337




                                                               APPENDIX - 47
Case 3:15-cv-03453-D Document 85-1 Filed 07/13/16   Page 48 of 50 PageID 2338




                                                               APPENDIX - 48
Case 3:15-cv-03453-D Document 85-1 Filed 07/13/16   Page 49 of 50 PageID 2339




                                                               APPENDIX - 49
Case 3:15-cv-03453-D Document 85-1 Filed 07/13/16   Page 50 of 50 PageID 2340




                                                               APPENDIX - 50
